        Case 17-20554-GLT                       Doc 76        Filed 05/03/22 Entered 05/03/22 11:01:54                     Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              PATRICK T. DONOFRIO, SR.


     Debtor 2              BRENDA J. DONOFRIO
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          17-20554GLT




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  FREEDOM MORTGAGE CORPORATION                                                    11

 Last 4 digits of any number you use to identify the debtor's account                         0   6   4   6

 Property Address:                             206 S SCOTLAND LANE
                                               NEW CASTLE PA 16101




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        1,970.11

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        1,970.11

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        1,970.11



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $851.72
         The next postpetition payment is due on                 4 / 1 / 2022
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     PATRICK T. DONOFRIO, SR.                                         Case number   (if known)   17-20554GLT
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    05/03/2022


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     PATRICK T. DONOFRIO, SR.                                   Case number   (if known)   17-20554GLT
             Name




                                              Disbursement History

Date         Check #     Name                                 Posting Type                                             Amount
MORTGAGE ARR. (Part 2 (b))
09/24/2019   1132586     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              43.92
10/24/2019   1135849     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              56.75
11/25/2019   1139307     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              54.41
12/23/2019   1142732     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              54.41
01/28/2020   1146154     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              54.41
02/25/2020   1149650     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              54.77
03/23/2020   1153188     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              54.77
04/27/2020   1156625     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              54.77
06/26/2020   1163424     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              16.52
07/29/2020   1166560     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              47.94
08/25/2020   1169635     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              47.94
09/28/2020   1172712     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              47.94
10/26/2020   1175817     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              47.94
11/24/2020   1178892     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              50.46
12/21/2020   1181873     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              50.46
01/25/2021   1184823     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              42.33
02/22/2021   1187928     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              46.79
03/26/2021   1191195     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              46.79
04/26/2021   1194483     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              46.79
05/25/2021   1197616     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              46.79
06/25/2021   1200795     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              46.79
07/26/2021   1203999     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              46.79
08/26/2021   1207119     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              56.68
09/24/2021   1210246     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              56.68
10/25/2021   1213322     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              56.68
11/22/2021   1216356     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              53.26
02/23/2022   1225404     FREEDOM MORTGAGE CORPORATION         AMOUNTS DISBURSED TO CREDITOR                             452.55
03/25/2022   1228339     FREEDOM MORTGAGE CORPORATION         AMOUNTS DISBURSED TO CREDITOR                             223.33
04/26/2022   1231360     FREEDOM MORTGAGE CORPORATION         AMOUNTS DISBURSED TO CREDITOR                              10.45
                                                                                                                      1,970.11

MORTGAGE REGULAR PAYMENT (Part 3)
06/27/2017   1044086     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                           1,427.63
07/25/2017   1047416     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             728.33
08/25/2017   1050754     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             739.44
09/26/2017   1054065     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             748.05
10/25/2017   1057433     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             762.66
11/21/2017   1060725     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             761.55
12/21/2017   1063989     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             765.63
01/25/2018   1067398     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             768.81
02/23/2018   1070622     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             771.30
03/28/2018   1073792     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             801.57
04/24/2018   1077034     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             827.12
05/25/2018   1080275     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             849.00
06/22/2018   1083472     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             867.41
07/26/2018   1086620     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                           1,159.03
08/28/2018   1089853     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                           1,234.49
09/25/2018   1093029     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             966.38
10/29/2018   1096240     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             879.57
11/27/2018   1099435     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             739.16
12/21/2018   1102556     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             959.86
01/25/2019   1105711     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             208.38
02/25/2019   1108982     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                           1,069.79
03/25/2019   1112238     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                           1,099.43
04/26/2019   1115519     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                           1,120.58
05/24/2019   1118927     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                           1,137.67
06/25/2019   1122303     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                           1,158.47
07/29/2019   1125730     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                           1,173.49
08/27/2019   1129230     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                           1,189.17
09/24/2019   1132586     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             893.39
10/24/2019   1135849     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             806.48
11/25/2019   1139307     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             806.48
12/23/2019   1142732     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                             806.48

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Debtor 1     PATRICK T. DONOFRIO, SR.                                   Case number   (if known)   17-20554GLT
             Name




                                              Disbursement History

Date         Check #     Name                                 Posting Type                                              Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
01/28/2020   1146154     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              806.48
02/25/2020   1149650     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              806.48
03/23/2020   1153188     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              806.48
04/27/2020   1156625     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              806.48
05/26/2020   1160025     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              591.02
06/26/2020   1163424     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                            1,021.94
07/29/2020   1166560     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              806.48
08/25/2020   1169635     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              806.48
09/28/2020   1172712     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              806.48
10/26/2020   1175817     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              806.48
11/24/2020   1178892     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              806.48
12/21/2020   1181873     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              806.48
01/25/2021   1184823     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              891.35
02/22/2021   1187928     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              844.77
03/26/2021   1191195     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              844.77
04/26/2021   1194483     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              844.77
05/25/2021   1197616     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              844.77
06/25/2021   1200795     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              844.77
07/26/2021   1203999     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              844.77
08/26/2021   1207119     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              844.77
09/24/2021   1210246     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              844.77
10/25/2021   1213322     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              844.77
11/22/2021   1216356     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                              844.77
12/23/2021   1219415     FREEDOM MORTGAGE CORP                AMOUNTS DISBURSED TO CREDITOR                            1,487.87
01/26/2022   1222492     FREEDOM MORTGAGE CORPORATION         AMOUNTS DISBURSED TO CREDITOR                            1,238.32
02/23/2022   1225404     FREEDOM MORTGAGE CORPORATION         AMOUNTS DISBURSED TO CREDITOR                              851.72
                                                                                                                      50,821.52




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                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

PATRICK T. DONOFRIO, SR.
BRENDA J. DONOFRIO
206 S. SCOTLAND LANE
NEW CASTLE, PA 16101

MICHAEL C EISEN ESQ
M EISEN AND ASSOCIATES PC
404 MCKNIGHT PARK DR
PITTSBURGH, PA 15237

FREEDOM MORTGAGE CORPORATION
ATTN PAYMENT PROCESSING
10500 KINCAID DR
FISHERS, IN 46037

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




5/3/22                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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